 

 

 

10

1]

12

14
15
16
17

18

19

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 1 of 31

IN THE SUPERIOR COURT OF WASHINGTON
IN AND FOR KING COUNTY

NICHOLAS BARNARD,
NO.
Plaintiffs,
SUMMONS
vs.

COLUMBIA DEBT RECOVERY, LLC
dba GENESIS CREDIT
MANAGEMENT, LLC

Defendant.

 

 

TO THE DEFENDANT: COLUMBIA DEBT RECOVERY:

A lawsuit has been started against you in the above-entitled court by the Plaintiff. This claim
is stated in the written Complaint, a copy of which is served upon you with this Summons.

In order to defend against this lawsuit, you must respond to the Complaint by stating your
defense in writing, and by serving a copy upon the person signing this Summons within twenty (20)
days (in state) or sixty (60) days (out of state) after the service of this Summons, excluding the day of
service, or a default judgment may be entered against you without notice. A default judgment is one
where a plaintiff is entitled to what has been asked for because you have not responded. If you serve
a notice of appearance on the undersigned person, you are entitled to a notice before a default

judgment may be entered.

ANDERSON | SANTIAGO
Summons - | 787 MAYNARD AVES

SEATTLE WA 98104
(206) 395-2665 / F (206) 395-2719

 

 

 
 

, Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 2 of 31

 

 

(206) 395-2719 (tax)

 

 

 

 
 

nN

Go

15
46

“47
18
19
20
21
22

23

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 3 of 31

IN THE SUPERIOR COURT OF WASHINGTON
IN AND FOR KING COUNTY

NICHOLAS BARNARD,
NO.
Plaintiff,
COMPLAINT FOR VIOLATIONS OF 15
VS. U.S.C. § 1692 ET SEQ. AND RCW
CHAPTERS 19.16 AND 19.86 ET SEQ.
COLUMBIA DEBT RECOVERY, LLC
dba GENESIS CREDIT
MANAGEMENT, LLC

Defendant.

 

 

 

 

COME NOW Plaintiff, Nicholas Barnard, by and through counsel. who alleges:
I. PARTIES AND JURISDICTION

1. Plaintiff Nicholas Barnard is an individual who resides in Washington State.

2. Defendant COLUMBIA DEBT RECOVERY, LLC dba GENESIS CREDIT
MANAGEMENT, LLC (“CDR”), a Washington Limited Liability Company, UBI #604-074-
740, is a debt collector and collection agency doing business in Washington, and who repeatedly
attempted to collect an alleged debt from the Plaintiff. CDR’s registered agent is Rowland

Avenue Management, 906 SE Everett Mall Way Suite 301, Everett, WA 98208-3744.

1+ ANDERSON | SANTIAGO
Complaint - 1 787 MAYNARD AVE 8
SEATTLE WA 98104

(206) 395-2665 / F (206) 395-2719

 

 
 

 

 

 

16
17
18
19
20
21
22

23

 

 

Case 2:20-cv-00812-JCC Document 1-1. Filed 06/01/20 Page 4 of 31

3. Jurisdiction over Defendant is proper as Defendant is doing business in
Washington State and venue is appropriate in King County, Washington.
I. FACTS
4, In March 2015, Plaintiff Nicholas Barnard rented an apartment from Clocktower

Apartment Homes (‘Clocktower’) at 13725 32nd Ave. NE, Seattle, WA, 95125.

5. In 2017, Mr. Barnard signed a new fixed-term lease agreement, which terminated
at the end of March 2018.
6. In January 2018, Mr. Barnard was having financial difficulties, which made

continued payment of rent at Clocktower impracticable. Additionally, Clocktower management
had engaged in excessive entry into his apartment for several months, which made his living
situation extremely uncomfortable.

7. He did the most responsible thing that he could do in his situation and gave
Clocktower notice that his last day would be February 1, 2018. He provided notice by letter on
or about January 29, 2018. A true and correct copy of his notice is attached as Exhibit A.

8. Mr. Barnard knew that he might owe money for moving out early, but he had no
choice due to his uncertain financial status. To give Clocktower the opportunity to rent the unit
to others, Mr. Barnard moved out early.

9. He estimated that the fallout may consist of two months’ rent, and perhaps some
utility charges minus his deposit.

10. | However, shortly after moving out, he received a huge shock when Clocktower
sent him a final account statement. A true and correct copy of the statement is attached as
Exhibit B.

11. The most glaring issue with the final account statement was that Clocktower was

te ANDERSON | SANTIAGO
Complaint - 2 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 
 

2

tao

 

1]

12

14

15

16

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 5 of 31

assessing a $1,385.00 “insufficient 20-day notice” fee, when Mr. Barnard had given Clocktower
over two months’ notice. The document itself accounted for this advanced notice.

12. Mr. Barnard also took issue with the $1,343.85 in cleaning fees, carpet
replacement, and damage repair as he had cleaned the apartment before he left. Additionally, he
had lived there for nearly three years, and nothing was damaged beyond normal wear and tear
upon moving out.

13. Just a few months after Mr. Barnard moved out of the apartment, he began
receiving communications from CDR. A true and correct copy of a letter he received from CDR
in 2018 is attached as Exhibit C. He was not in a financial position to resolve any outstanding
issues with the apartment or CDR, especially when the balance was inflated by over $2,700, so
he asked CDR to stop contacting him.

14, CDR continued to send letters and e-mails. On or about March 4, 2020, Mr.
Barnard received an e-mail from CDR with an attached letter. A true and correct copy of the e-
mail and its attachment are attached as Exhibit D.

15. In March 4, 2020 letter, CDR stated that Mr. Barnard owed $5,636.85 in
principal, and $1,414.00 in interest, for a total due of $7,050.85.

16. Just twelve days later on March 16, 2020, CDR sent Mr. Barnard another
collection letter, and stated that Mr. Barnard owed $5,636.85 in principal, and $1,406.59 in
interest, for a total due of $7,043.44. A true and correct copy of the e-mail and its attachment are
attached as Exhibit E.

17. Mr. Barnard was extremely confused, as the amount of interest (having been

already calculated on dollar amounts which he did not owe) was decreasing, and he knew that

 

the balance was inflated by fees and costs that were obviously inaccurate. Logically speaking,

. ANDERSON | SANTIAGO
Complaint - 3 787 MAYNARD AVES
SEATTLE WA 98 104

(206) 395-2665/ F (206) 395-2719

 

 

 
bo

 

10

1]

13

14

15

17

18

19

20

21

22

23

wee

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 6 of 31

even assuming the principal amount was correct, at least one of the figures for interest is
necessarily false (if not both).

18. On March 26, 2020, Mr. Barnard called CDR to start a dialogue about the
confusing nature of CDR’s collections, and hopefully fix and resolve the issue. Unfortunately,
Mr. Barnard left the call more confused than when he began.

19. First, Mr. Barnard told CDR that he could not owe the $1,385 twenty-day notice
fee, because he gave over two months’ notice. CDR’s representative's response was to tell Mr.
Barnard that he should have just paid the remaining two months of rent when he left, because it
“would have been a lot cheaper.”

20. ‘The attempted collection of a fee for supposed failure to give notice is obviously
uncollectable on its face, and CDR ignored Mr. Barnard’s simple explanation.

21. Second, Mr. Barnard asked CDR how he could be charged for cleaning fees,
when he had cleaned the apartment before he left.

22. ‘Bizarrely, CDR falsely stated to Mr. Barnard that if he did not have the apartment
professionally cleaned, then he would have to pay Clocktower for such cleaning. No such
provision existed,

23. ‘Finally, Mr. Barnard asked CDR about the fluctuating amount of interest.

24. | CDR’s representative offered to give Mr. Barnard a new number, which would
“probably be more accurate.” Despite only ten days passing since CDR’s last letter, CDR’s
representative stated that Mr. Barnard owed an additional $48.15 in interest, for a total of
$1,454.74. The representative offered absolutely no explanation for the fluctuating amount of
interest.

25. In fact, four days after Mr. Barnard’s call to CDR, on March 30, 2020, he

. ANDERSON | SANTIAGO
Complaint - 4 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665 / F (206) 395-2719

 

 

 
 

 

 

 

15

16

17

18

19

20

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 7 of 31

received another e-mail from CDR, which again claimed that Mr. Barnard owed $1,046.59 in
interest. A true and correct copy of the e-mail is attached as Exhibit F.

26. Then, in almost comic fashion, on April 13, 2020, CDR sent yet another e-mail
with the same amount of interest ($1,046.59) allegedly owing. A true and correct copy of the e-
mail is attached as Exhibit G.

27. Asaresult of CDR’s actions detailed above, Plaintiff has incurred expenses in
seeking and retaining counsel in connection with ascertaining his legal rights and
responsibilities, on information and belief, has suffered damaged credit, and has suffered
financial uncertainty, unease, and distress caused by the false, improper, and confusing nature of
the collection efforts.

28. Additionally, Mr. Barnard is self-employed, and had to take time away from his
business to deal with CDR’s collection efforts.

ill CAUSES OF ACTION
GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

29. With respect to the alleged debt, Plaintiff is a consumer as defined by 15 U.S.C. §
1692a(3) and Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6).

30. With respect to the alleged debt, Plaintiff is a “debtor” as defined by RCW
19.16.100(7) and Defendant is a collection agency as defined by RCW 19.16.100(4).

31. For claims arising under the Fair Debt Collection Practices Act, such claims are
assessed using the “least sophisticated debtor” standard. Guerrero v. RJM Acquisitions LLC, 499
F.3d 926, 934 (9th Cir. 2007).

Count 1 (and all subcounts)

32. A debt collector may not use any false, deceptive, or misleading representation or

. . ANDERSON | SANTIAGO
Complaint - 5 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665 / F (206) 395-2719

 

 
 

bo

Qo

un

 

14

15

16

17

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 8 of 31

means in connection with the collection of any debt. 15 U.S.C. § 1692e. This includes the false
representation of the character, amount, or legal status of a debt (§ 1692e(2)), the threat to take
any action which cannot be legally taken (§ 1692e(5)); or the use of any false representation or
deceptive means to collect or attempt to collect a debt (§ 1692e(10)).
33. Defendant used false, deceptive, or misleading representations or means in
connection with the collection of an alleged debt when it:
a) Sent numerous letters demanding amounts not owed (notice fees, cleaning
fees, and interest calculated on those fees);
b) Represented on a phone call that Mr. Barnard owed money which was not
owed;
c) Misrepresented the amount of interest owed in numerous letters;
d) Sent letters and/or e-mails to Plaintiff which were confusing, misleading, and
incorrect;
e) Falsely stated that Mr. Barnard would have to pay for cleaning because he
“did not hire a professional” to clean the apartment.
34, Therefore, Defendant violated 15 U.S.C. 8 1692e, and/or its subsections, on
numerous occasions.
Count 2 (and all subcounts)
35. A debt collector may not use unfair or unconscionable means to collect or attempt
to collect any debt. 15 U.S.C. § 1692f.
36. Plaintiff realleges paragraph 33 supra, as constituting unfair and unconscionable
means to collect a debt.

37. In summary, the Defendant therefore violated 15 U.S.C. § 1692f and/or $

. ANDERSON | SANTIAGO
Complaint - 6 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665 / F (206) 395-2719

 

 
 

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 9 of 31

1692f(1) on at least eight (8) occasions.
GENERAL ALLEGATIONS APPLICABLE TO ALL CPA CLAIMS

38. Violations of RCW 19.16.250 are per se violations of the Consumer Protection
Act (“CPA”), RCW chapter 19.86.) See RCW 19.16.440. RCW 19.86.090 provides for treble
damages (to a limit of $25.000) and attorney’s fees.

39. Because RCW Chapter 19.16 is enforced through RCW 19.86 et seq., the below
counts alleging violations of RCW Chapter 19.16 are therefore CPA violations.

40. Even minimal or nominal damages constitute “injury” under the CPA. Panag,
166 Wn.2d at 57. A plaintiff need not prove any monetary damages at all, as even
“ynquantifiable damages” suffice to establish “injury” for purposes of the CPA. dd. (citing
Nordstrom, Inc. v. Tampourlos, 107 Wn.2d 735, 740 (1987)).

Count 3

41. RCW 19,16,250(21) prohibits the collection, or attempted collection, of any
amounts in addition to the principal of a claim other than allowable interest, collection costs, or
handling fees expressly authorized by statute, and, in the case of suit, attorney’s fees and taxable
court costs.

42. Here, Defendant demanded money on numerous occasions for amounts that were
not owed through letters, e-mails, and phone calls. This included charges that could not be owed
under any circumstance, such as a twenty-day notice fee (when Plaintiff gave notice) and
cleaning and repair fees.

43. Each attempt to collect money from Plaintiff constitutes a separate attempt

 

! See Panag v. Farmers Ins. Co. of Wash., 166 Wn.2d 27, 53 (2009) (“Consumer debt collection is a highly
regulated field. When a violation of debt collection regulations occurs, it constitutes a per se violation of
the CPA...”).

: . ANDERSON | SANTIAGO
Complaint - 7 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665 / F (206) 395-2719

 

 

 
 

 

 

 

 

 

15

16

17

18

19

20

2)

22

23

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 10 of 31

amounts obviously not owed.

44. Defendant therefore violated RCW 19.16.250(21) upon each debt collection
attempt.

Count 4

45. A collection agency shall not represent or imply that an existing obligation may be
increased by the addition of any charges when in fact such charges may not be legally added to the
obligation. RCW 19.16.2505).

46. Here, CDR calculated interest on a principal that was obviously inflated and
demanded that Plaintiff pay that interest on that inflated principal.

47, Additionally, CDR attempted to collect a confusing, fluctuating amount of interest.

48. Defendants therefore violated RCW 19.16.250(15) on numerous occasions.

Count 5 — Injunctive Relief

49. _ A plaintiff may seek injunctive relief for violations of the Consumer Protection
Act. RCW 19.86.090.

50. Plaintiff does seek injunctive relief from this Court which would enjoin
Defendants from collecting debts in the manner described above from Plaintiff and any other
person similarly situated. Scott v. Cingular Wireless, 160 Wn. 2d 843, 853 (2007).

51. Specifically, Plaintiff seeks an injunction prohibiting Defendant from its unlawful
collection tactics, including but not limited to demanding money that is not owed, and assessing
interest that is not owed.

52. Plaintiff has reason to believe these actions may constitute a pattern and practice
of behavior and have impacted other individuals similarly situated.

53. Injunctive relief is necessary to prevent further injury to Plaintiff and to the

. ANDERSON | SANTIAGO
Complaint - 8 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 
 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 11 of 31

 

 

         
   
 
  
  

He

ington Collection

 

y Act and Consunver Protection Act violations.

 

4, Por iweble damages, it to ROW 19.86.090, calculated from the damages

   

determined by the court,

, ined by the Court pursuant to

bed above.

 

 

      

787 Mayaard Ave. S.
Seattle, WA 98104
(206) 395-2668

1 395-2719 (fax)

   

 

 

 
 

 

 

10

11

12

i3

14

15

af 16

17

18

19

20

22

23

 

 

Case 2:20-cv-00812-JCC »Document 1-1 Filed 06/01/20 Page 12 of 31

EXHIBIT A

 

 
 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 13 of 31

Nicholas Barnard

January 29, 2018

Management Office
Clocktower Apartments
13725 32° Ave NE
Seattle, WA 98125

Re: Notice of intent to vacate

Clocktower Management:

This letter constitutes written notice of my Intention to vacate and terminate the
lease of Apartment number B321 at Clocktower Apartments on February 1, 2018
at 4 pm local time.

1 do not wish to interact with the unprofessional management staff of Clocktower

' Apartments. Therefore, with the exception of one key to apartment B321, I will

leave the keys and gate remotes on the stove top in the kitchen in the
apartment. 1 will slide the final key for the apartment unit under the door of
apartment B321.

Please note that any future communication to me should be in writing, I will not

respond to communication in person or via telephone. Communication in writing
should be sent via email to clocktower@nickb.users.panix.com or via postal mail
to:

Nicholas Barnard

I look forward to your prompt attention to this matter and any written
communication you may have.

   

Nicholas Ba ard

 
 

   

ll
12
13
14
15
16
17
18

19

20

2]

22

23

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 14 of 31

EXHIBIT B

 

 

 
 

cE RENN

SNA

 

   

er

 

   

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 15 of 31

Clocktower
18728 Sand Ave NE

Seattie, WA 08125

 

 

 

   

     
  
 
 

 

 

 

  

 

aget2018
egrsqenia
oustenie
eA CARPET PADWET © SEAL ATH & YRS | Mowe-out reason : Personal masonsfconceme
LEFT OF GARPT LIFE 504.48
244 PULL UNIT PAINTIPATCH UP WALL 450-00
DAMAGE ON CORNERS
DO MEAVY UNIT CLEAN: =~ 468.00
24 TRASH OUT OF WATTAESS, 180206
GARBAGE, ITER LEPT
4 DRIP PAN REPLACEMENT 2.00
INSUFFICIENT 20 DAY NOTICE auisivsacscncetaa
ae! addilional charges / credia / payrnerds 2778.34
Oniginat Final Account balance
Balance a1 move-cut — 2R8062
Fatal Deposts (299.00)
Te 2,775.34
§ 336.26
2,880.52,
(298.00)
esas ae
OQuesite - Final aceount statement : Nicholas Barnard Page | of 2

 

 
 

 

AE

e

4 .

 

SSS Shi SSR Se SS SS Eee

  

 

 

Me

cor

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 16 of 31

    
  

 

 

aH REVISIONS 70 AD OR SUBTRACT CHARGES AS NEEDED

   
  
   

  

‘Your move out charges have been outlined above. Please remit payment immediately te Clocktower Apa iments or call”
| 208-264-1904 to dikeuds payment options. if no contact is madewithin thirty (30) days, this account will ba turned over
(86 collections wihout further notice: if thic- account balance If fram a unit skip or eviction, then tile account wil be
tarsedd quer te a collection agonsy immediately and without further notice. Thank you fof your promet attention te this

 

 

 

Onesite- Final account statement ; Nicholas Barnaid Page 2 of 2

 

 
 

 

 

 

10

1]

12

13

14

i)

16

17

18

19

* 21

22

23

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 17 of 31

EXHIBIT C

 

 

 

 
 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 18 of 31
COLUMBIA DEBT RECOVERY DBA GENESIS
. 7100 EVERGREEN WAY STE C EVERETT, WA 98203
TOLL FREE: 866-863-9194 MONDAY-FRIDAY 8AM TO 5PM PST
MAILING ADDRESS: PO BOX 3630 EVERETT, WA 98213

JUNE 11, 2018

Account#: a’ 32

BARNARD, NICHOLAS C

Original Creditor: CLOCKTOWER APARTMENTS
Placed fer Collections om: 06/07/18

Principal Due: $5636.85
Interest Due: $242.77
Other/misc: $0.06
Court cests: $0.00
Attorney fees: $0.00
Total Due: $5879.62

Dear NICHOLAS C BARNARD

Your past due account has been referred to our office for collection. Please
remit payment in full or contact our office to make amicable arrangements.
Unless you notify this office within 30 days after receiving this notice that
you dispute the validity of this debt or any portion thereof, this office
will assume this debt is valid. If you notify this office in writing within
30 days from receiving this notice that you dispute the validity of this debt
“or any portion thereof, thie office will obtain verification of the debt or
a copy of a judgment and mail you a copy of such judgment or verification.
If you request this office in writing within 30 days after receiving this
notice this office will provide you with the name and address of the original
creditor if different from the current creditor.

Sincerely,

SADIK HARRIS

Account Representative
$66~863-9194

This communication is from a debt collector attempting to eollect a debt
and any information obtained will be used for that purpose.
Your account accrues interest at a rate of 012.00 percent per annum.

 

 
 

 

10

1]

12

x ontee 3

14

15
16
17
18
19
20
21

22

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 19 of 31

EXHIBIT D

 

 

 

 
Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 20 of 31

 

 

From: Collection Admin

To: CLOC WER @NICKB USERS PANIX.COM

Subject: BARNARD - TAX SETTLEMENT LETTER “702
Date: Wednesday, March 4, 2020 12:20:39 PM
Attachments: BARNARD - TAX SETTLEMENT LETTER 2782. oct

 

 

Attached is an offer regarding your account that has been place with Genesis Credit Management.
Please call us at 866-863-9194 to discuss your account further.

Thank you!

Angie Linscott-Spaulding

Columbia Debt Recovery dba Genesis

906 SE Everett Mall Way, Suite 301

Evereit, WA 98208

Direct: (425)-669-9983

Office: (866) 863-9194 | Email Angelal @genesiscred.com

‘a www,.genesiscred com

  

This communication is from a debt collector attempting to collect a debt. Any information obtained will be used for that
purpose. IMPORTANT CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files, or previous e-mail
messages attached to it may contain confidential information that is legally privileged. If you are not the intended recipient, or
a person responsible for delivering it to the intended recipient, you are hereby notified that any disclosure, copying,

distr bution or use of any of the information contained in or attached to this transmission is prohibited. If you have received
this transmission in error, please immediately notify us by reply e-mail. Thank you.

 

 

 
 

BRE:

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 21 of 31

BARNARD, NICHOLAS C TAX ~ Account +2722

Original Creditor: CLOCKTOWER APARTMENTS
Placed for collections on: 06/07/18

Original Principal: $5636.85
interest Due: $1414.06
Total Due: $7050.85

Price Reduction & Offer of Settlement

NICHOLAS C BARNARD,

Your account may qualify for a balance reduction of up to 50%. Please contact our office to take advantage
of this offer and make arrangements to pay the reduced amount or set up a payment plan.

This is a time-sensitive, special offer to discount your debt and remove it from your credit, as well as
restore your rental screening history! Please contact us within 30 days of the receipt of this notice.

Call us now at (888) 811-4645. Please reference your account number listed above to learn more about
the available discounts on your account.

Do not delay! We are not obligated to renew any offers.

Dial (888) 811-4645.

Signed,
COLUMBIA DEBT RECOVERY

This is a communication from a debt collector. This is an attempt to collect a debt and any information
obtained will be used for that purpose.

 

 

 
Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 22 of 31

 

a BRE

 

 

 

This is a communication from a debt collector. This is an attempt to collect a debt and any information
obtained will be used for that purpose.

 

 

 
 

10

1]

12

13

14

15

16

17

18

19

wo» 20

21

22

23

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 23 of 31

EXHIBIT E

 

 
 

 

 

 

Case 2:20-cv-00812-JCC Document 1-1. Filed 06/01/20 Page 24 of 31

 

Monday, Mand 16, 2020 1104226 AM
pee OGt 2

     

 

NICHOLAS C BARNARD

 

Original Principal: $5,636.85
Interest Due: $1 AQ6.S9
Total Due: $7,043.44

Price Reduction & Offer of Settlement

NICHOLAS C BARNARD,

Your account may qualify for a balance reduction of up to 50%. Please contact our office to
take advantage of this offer and make arrangements to pay the reduced amount or set up a

payment plan.

TAX — Account #:[§§j2782

 
Case 2:20-cv-00812-JCC Document 1-1 | Filed 06/01/20 Page 25 of 31

This is a time-sensitive, special offer to discount your debt and remove it from your credit, as
well as restore your rental screening history! Please contact us within 30 days of the receipt of
this notice.

Call us now at (866) 863-9194. Please reference your account number listed above to learn more
about the available discounts on your account.

Do not delay! We are not obligated to renew any offers.

Dial (866) 863-9194.

Signed,

COLUMBIA DEBT RECOVERY

Notice:
To remove your email from the contact list,

click Unsubscribe and reply “Stop”.

This is a communication from a debt collector. This is an attempt to collect a debt and any information
obtained will be used for that purpose.

 

 
 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 26 of 31

 

10

u EXHIBIT F

12

 

13
14
15
16
17
18
19
20

21

 

22

23

 

 

 

 

 

 
 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 27 of 31

   

Monday, March 3, 2020 1108-30 AM

 

 

 

NICHOLAS C BARNARD TAX — Account #: 2782

 

Oniginal Creditor: CLOCK TOWER APARTMENTS
Placed for collections on: 6/7/2018

    

driginal Principal: $5,636.85
laterest Due: $1,406.59
‘Total Due: $7 043.44

 

Price Reduction & Offer of Settlement

NICHOLAS C BARNARD,

Your account may qualify for a balance reduction of up to 30%. Please contact our office fo
take advantage of this offer and make arrangements fo pay the reduced amount or set up a
payment plan.

 

 

 
 

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 28 of 31

This is a time-sensitive, special offer to discount your debt and remove it from your credit, as
well as restore your rental screening history! Please contact us within 30 days of the receipt of
this notice.

Cail us now at (866) 863-9194. Please reference your account number listed above to learn more
about the available discounts on your account.

Do not delay! We are not obligated to renew any offers.

Dial (866) 863-9194.

Signed,
COLUMBIA DEBT RECOVERY

Notice:
To remove your email from the contact list,
click Unsubseribe and reply “Stop”.

This is a communication from a debt collector. This is an attempt to collect a debt and any information
obtained will be used for that purpose.

 

 
 

 

10

il

12

13

14

15

17

18

19

 

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 29 of 31

EXHIBIT G

 

 
 

 

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 30 of 31

 

 

NICHOLAS C BARNARD TAX — Account #: e782

Original Creditor: CLOCK TOWER APARTMENTS
Placed for collections on: 6/7/2018

Onginal Poncipal: $5,636.85
Interest Due: $1,406.59
Total Duc: $7,043.44

Price Reduction & Offer of Settlement

NICHOLAS C BARNARD,

Your account may qualify for a balance reduction of up to 50%. Please contact our office to
take advantage of this offer and make arrangements to pay the reduced amount or sei up a
payment plan.

 
 

 

 

 

Case 2:20-cv-00812-JCC Document 1-1 Filed 06/01/20 Page 31 of 31

This is a time-sensitive, special offer to discount your debt and remove it from your credit, as
well as restore your rental screening history! Please contact us within 30 days of the receipt of
this notice.

Call us now at (866) 863-9194. Please reference your account number listed above to learn more
about the available discounts on your account.

Do not delay! We are not obligated to renew any offers.

Dial (866) 863-9194.

Signed,

COLUMBIA DEBT RECOVERY

Notice:

To remove your email from the contact list,

 

ibe and repiy “Stop”.

This is a communication from a debt collector. This is an attempt to collect a debt and any information
obtained will be used for that purpose.

 

 
